Case 2:19-cv-00624-RJC Document 1-4 Filed 05/28/19 Page 1of5

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

BESSEMER SYSTEM FEDERAL CREDIT )
UNION,

Plaintiff, Case No.

 

Vs. (Removed from Pennsylvania Court of
Common Pleas, Mercer County, Civil

FISERV SOLUTIONS, LLC, FISERV Division Case No. 2018-01130)

SOLUTIONS, INC., and FISERV, INC.,

Defendants.

 

DECLARATION OF TIMOTHY PATTERSON
IN SUPPORT OF NOTICE OF REMOVAL

I, Timothy Patterson, hereby state as follows under penalty of perjury pursuant to
28 U.S.C. § 1746:

1. I am over 18 years of age, an adult resident of Wisconsin and am competent to
testify as to all matters set forth in this Declaration.

2. I am counsel for Fiserv, Inc. and Fiserv Solutions, LLC in the above-captioned
matter. I submit this declaration in support of Defendants’ Notice of Removal.

3. On May 14, 2019, I reviewed the website for the National Credit Union
Administration and the credit union profile contained therein for Bessemer Systems Federal
Credit Union (“Bessemer”), available at https://mapping.ncua.gov/SingleResult.aspx?ID=4982,
which lists Bessemer as a federally chartered Pennsylvania Community credit union with its
main office and principal place of business located at 106 Woodfield Drive, Greenville,
Pennsylvania, 16125. I further reviewed the profile for Bessemer on the website for the National

Credit Union Service Organization Registry, available at http://ncuso.org/pa/bessemer-system-

4825-0786-8310.1
Case 2:19-cv-00624-RJC Document 1-4 Filed 05/28/19 Page 2 of 5

federal-credit-union-4982/, which lists Bessemer as a federally chartered Pennsylvania
Community credit union with $32,000,000 in assets and its main and only office located at 106
Woodfield Drive, Greenville, Pennsylvania, 16125. The National Credit Union Service
Organization Registry also states that Bessemer is a “community credit union that has 1 branch
with approximately 4837 members serving the greater Mercer county area.”

4, On April 29, 2019, Bessemer System Federal Credit Union’s Chief Executive
Officer, Joy Peterson, sent an email to Defendants explaining that Bessemer’s payment of
deconversion fees to Fiserv Solutions “is disputed and was made under a reservation of rights.”
A true and correct copy of Ms. Peterson’s April 29, 2019 email is attached hereto as Exhibit 1.

I declare under the penalty of perjury under the laws of the United States that the

foregoing is true and correct.

Dated: May 24, 2019

L_——

Timothy J. Patterson

4825-0786-8310.1
Case 2:19-cv-00624-RJC Document 1-4 Filed 05/28/19 Page 3 of5

EXHIBIT 1
Case 2:19-cv-00624-RJC Document 1-4 Filed 05/28/19 Page 4 of5

Patterson, Tim

From: Joy Peterson <jpeterson@bessfcu.com>

Sent: Monday, April 29, 2019 10:23 AM

To: Das Gupta, Uttam Kumar (Gurugram)

Subject: RE: Fiserv A/c #9012160 BESSEMER SYSTEM FEDERAL CU
Follow Up Flag: Follow up

Flag Status: Flagged

  

A\ EXTERNAL MESSAGE - Think Before You Click

 

Uttam,

This invoice is disputed and payment was made under a reservation of rights since Fiserv shown that it’ll just keep my
members’ data hostage if | don’t pay it. Can you explain the basis of the charge, and provide all supporting
documentation, as we previously requested with respect to Fiserv’s invoices?

Joy E. Peterson, CEO
Bessemer System FCU
106 Woodfield Drive
Greenville, PA 16125
(724) 588-6119 Ext. 1221

jpeterson@bessfcu.com
NMLS# 747263

From: Das Gupta, Uttam Kumar (Gurugram) [mailto:uttamkumar.dasgupta@Fiserv.com]
Sent: Monday, April 29, 2019 9:56 AM

To: JPETERSON@BESSFCU.COM

Ce: AR. inquiry

Subject: Fiserv A/c # 9012160 BESSEMER SYSTEM FEDERAL CU

Hi Joy,

Greetings of the day.

This email is in reference to open invoice# 91483373.

please review the invoice and let me know if you have any question or concern related to the invoice or payments.

please feel free to contact for further help.

Best Regards,

Uttam Kumar
Case 2:19-cv-00624-RJC Document 1-4 Filed 05/28/19 Page 5of5

Senior Associate

Finance Shared Services Centre
Office: 877-347-8346 Ext - 14321
www.fiserv.com

Fiserv
Fiserv | Join Our Team | Twitter | LinkedIn | Facebook
FORTUNE Magazine World's Most Admired Companies® 2014 | 2015 | 2016 | 2017 | 2018

© 2018 Fiserv Inc. or its affiliates. Fiserv is a registered trademark of Fiserv Inc. Privacy Policy
